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                                                                              United States District Court
                                                                                Southern District of Texas

                                                                                   ENTERED
                                                                                   June 22, 2017
                         UNITED STATES DISTRICT COURT
                                                                                David J. Bradley, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA                     §
                                             §
VS.                                          §   CRIMINAL NO. 2:17-CR-329-2
                                             §
ROYCE PAREDES                                §

 MEMORANDUM OPINION AND ORDER OF DETENTION PENDING TRIAL

       On May 23, 2017, the defendant waived the detention hearing without prejudice.

On June 20, 2017, the defendant filed a motion to reopen the detention hearing. (D.E.

29). The motion was granted and a detention hearing was held on June 22, 2017 in

accordance with the Bail Reform Act, 18 U.S.C. § 3142(f). Detention of the defendant

pending trial in this case is necessary because there is a serious risk that the defendant

will not appear. The evidence against the defendant meets the probable cause standard.

The defendant was on probation in two separate state cases at the time of the commission

of the underlying offense. There are currently at least two active probation violation

warrants for the defendant’s arrest. The defendant has shown that he is either unwilling

or unable to comply with the terms of court ordered supervision and is a poor candidate

for bond. The findings and conclusions contained in the Pretrial Services Report are

adopted.

       The defendant is committed to the custody of the United States Marshal or his

designated representative for confinement in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in custody pending

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appeal. The defendant shall be afforded a reasonable opportunity for private consultation

with defense counsel. On order of a court of the United States or on request of an

attorney for the Government, the person in charge of the corrections facility shall deliver

the defendant to the United States Marshal for the purpose of an appearance in

connection with a court proceeding.

       ORDERED this 22nd day of June, 2017.


                                             ___________________________________
                                                          Jason B. Libby
                                                   United States Magistrate Judge




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